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page 40

08/21/06 M. Levinson

08/21/06 L. Ernce

08/22/06 M. Levinson

08/23/06 M. Levinson

08/24/06 M. Levinson

08/24/06 L. Ernce

08/24/06 L. Ernce

September 22, 2006

Invoice No, 1031855

Exchange email memoranda with C, 0.30
Harvick re forwarding the list of

Diversified’s "saleable" loans to the other

committees and the debtors (.10); review

the list and revise and finalize the email

memorandum re the same to the other

committees and the debtors (.20).

Review C. Harvick re providing list of 0.20
loans that Diversified proposes be sold or

serviced to various plan proponents and

related matters (.10); review M. Levinson

email to counsel for debtors and other

committees re same and review finalized

list (.10).

Conference with A. Jarvis re recent 0.20
discussions with Plan Proponent Nos. |

and 2 and re next steps in the plan process.

Telephone conversation with M. 0.10
Winthrop, one of the counsel for Plan

Proponent No. 5.

Telephone conversation with R. Kaplan, 0.60
counsel for Plan Proponent No. 4 (.10);

initial review of the new proposal from

Plan Proponent No. 1 (.20); review and

analyze the email memorandum from D.

Cooney of Plan Proponent No. 2 re his

recalculation of the accrued servicing fee

and email memorandum to C. Harvick and

M. Tucker re the same (.20); review M.

Tucker response thereto and send a brief

response to M. Tucker (.10).

Initial review of First Trust Deed Fund’s 0.40
joint term sheet for plan of reorganization

and telephone conference with M.

Levinson re same.

Review emails from M. Levinson and 0.20
other Diversified professionals re status of

various plan proposals and related matters.

168.00

93.00

112.00

56.00

336.00

186.00

93.00
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08/25/06 M: Levinson Telephone conversation with R. Goe and 2.00 1,120.00
M. Winthrop, counsel for Plan Proponent
No. 5 (.10); review and analyze draft plan
outline crafted by First Trust and the direct
lenders, and interlineate comments thereto
(.80); review and analyze the August 24th
revised proposal of Plan Proponent No. 1,
and interlineate comments thereto (.90);
portion of a long telephone conversation
with M. Tucker, C. Harvick and J.
Hermann spent discussing the August 24th
revised proposal of Plan Proponent No. |
(.10); review R. Goe and J. Reed email
memoranda re the due diligence requests
of Plan Proponent No. 5 (.10).
08/25/06 L. Ernce Review email from S. Strong and revised 0.20 93.00
proposal from Plan Proponent No. 2.
08/26/06 M. Levinson Review S. Strong re various plan issues 0.20 112.00
and re scheduling an all-hands call to
discuss the same, and lengthy email
memorandum to the Diversified Trust
professionals re the same.
08/27/06 M. Levinson Review lengthy C. Harvick email 0.40 224.00
memorandum re the new proposal from
Plan Proponent No. 2 (.20); telephone
conversation with C. Harvick re the same
and re other plan issues (.20).
08/27/06 M. Levinson Review S. Smith, R. Charles and M. 0.10 56.00
Tucker email memoranda re calculation of
the servicing fee at either 1% or 3%.
08/28/06 M. Levinson Telephone conversation with R. Charles 0.90 504.00
and S. Freeman re plan proposals and
other plan issues in preparation for today’s
all-hands call (.30); review email
memorandum from D. Cooney of Plan
Proponent No. 2 (.10); portion of a long
conversation with M. Tucker, C. Harvick
and J. Hermann devoted to a discussion of
plan issues (.20); exchange of email
memoranda with R. Charles, S. Freeman
and others re talking tomorrow morning
prior to the all-hands call (.10); exchange
email memoranda with M. Tucker re his
discussions today with A. Jarvis re plan
and disclosure statement issues (.10);
participate in a chain of numerous emails
with S. Strong, R. Charles, J. Hermann
and others re arranging a call about plan
issues for later tonight (.10).
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08/28/06 L. Ernce Review R. Charles’ letter and comments
on proposal from Plan Proponent No. 1
and emails re same (.20); review First
Trust Deed Committee’s comments on
proposals from Plan Proponent No. 1 and
Plan Proponent No. 2 (.30).

08/28/06 L. Ernce Review M. Tucker email memo re his
discussions with A. Jarvis re disclosure
statement and related issues; review M.
Levinson email response.

08/28/06 J. Hermann Participate in meeting with debtors’
representatives regarding topics to be
discussed on all-hands conference call and
participate in all-hands conference call to
discuss numerous issues, primarily asset
sale proposals and plan of reorganization
issues.

08/28/06 J. Hermann Meeting with M. Tucker and C. Harvick
regarding asset sale issues and plan of
reorganization issues and regarding
upcoming meeting with J. Milanowski.

08/28/06 J. Hermann Participate in meeting with Debtor
representatives regarding topics to be
discussed on all-hands conference call and
participation in all-hands conference call
to discuss numerous issues, primarily asset
sale proposals and plan of reorganization
issues.

08/28/06 J. Hermann Participate in evening conference call with
T. Allison and R. Charles and A. Jarvis
and S. Freeman re dynamics of plan of
reorganization negotiations and minority
view that debtor representatives should
cede control of process to others.

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0.50 232.50
0.10 46.50
0.70 399.00
0.60 342.00
0.70 399.00
0.60 342.00
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08/29/06 M. Levinson Review and analyze the draft letters of 4.00 2,240.00

intent from Plan Proponent Nos. | and 2,
as revised by counsel for the First Trust
Committee and review and analyze the
lengthy R. Charles comments to the draft
letter of intent from Plan Proponent No. 1
(.80); telephone conversation with C.
Harvick, J. Hermann and M. Tucker (for
part) re responding to the two proposals
and re next steps (.70); review and analyze
the R. Charles revised draft of the term
sheet originally forwarded by E. Karasik
(.60); review R. Charles email
memorandum to M. Bloom re the
valuation in the proposal by Plan
Proponent No. | of a particular asset (.10);
portion of a long telephone conversation
with A. Jarvis devoted to plan issues (.30);
telephone conversation with M. Tucker
and C. Harvick re making a new proposal
to Plan Proponent No. 1 (.20); telephone
conversation with J. Hermann re his call
last night with T. Allison, A. Jarvis, R.
Charles, S. Freeman and others last night
and re his review of the draft plan
circulated by A. Jarvis this morning (.10);
review lengthy R. Charles email
memorandum to Plan Proponent No. 2
containing his comments to the most
recent proposal (.20); telephone
conversation with M. Tucker and J.
Hermann re making a proposal to Plan
Proponent No. 1, during the call review
the lengthy M. Tucker email
memorandum re selling loans to a Plan
Proponent (.20); telephone conversation
with M. Bloom, counsel for Plan
Proponent No. 1, with M. Tucker and J.
Hermann, re the proposal of the
Diversified Fund and related loans (.30);
telephone conversation with S. Kahn, D.
Cooney and J. McCarroll of Plan
Proponent No. 2, with M. Tucker and J.
Hermann, re the proposal of the
Diversified Fund and related loans (.30);
follow-up conversation with M. Tucker
and J. Hermann (.20).
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08/29/06 L. Ernce

08/29/06 J. Hermann

08/29/06 J. Hermann

08/29/06 J. Hermann

08/30/06 M. Levinson

08/30/06 J. Hermann

08/30/06 J. Hermann

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Review portions of draft plan of 0.50
reorganization circulated by debtors (.50);

review USACM Committee’s comments

to First Trust Deed Committee's draft joint

term sheet (.20).

Extensive review and analysis of debtors 1.90
draft plan of reorganization and telephone

conference with Mr. Levinson regarding

results of such review and analysis.

Participate in conference call with M. 0.70
Tucker, C. Harvick, and M. Levinson

regarding asset sales and plan of

reorganization issues.

Participate in further all-hands conference 0.90
call regarding asset purchase proposals

and plan of reorganization issues.

Re-review prior plan term sheet proposals 1.40
and the various email memoranda relating

to the same (.30); telephone conversation

with R. Charles re his and my separate

conversations yesterday with Plan

Proponent Nos. 1 and 2, re his comments

to the draft term sheet prepared by the

First Trust Committee and re other plan

matters (.20); portion of a long telephone

conversation with M. Tucker devoted to a

discussion of the R. Charles comments to

the First Trust plan term sheet outline

(.30); initial review of tonight's new

proposal from Plan Proponent No. 2 and

telephone conversation with M. Tucker re

the same (.30); review exchange of

follow-up email memoranda between J.

Fasel and M. Tucker re the new proposal

(.20); review lengthy follow-up email

memorandum from M. Tucker re the same

(.10).

Participate in all-hands conference call 1.20
regarding asset purchase proposals and

numerous other issues including plan

exclusivity extension, matters on calendar

for tomorrow's hearing, plan of

reorganization issues, etc.

Review and analysis of revised asset 0.70
purchase letter of intent and preparation of

comments to the same.

232.50

1,083.00

399.00

513.00

784.00

684.00

399.00
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08/31/06

B320 — Plan and Disclosure Statement (including Business Plan) Total

J. Hermann

Further review and analysis of draft plan
of reorganization and markups of term
sheets for plan of reorganization and
consideration and analysis of issues
involved in each.

PHASE B300 —- CLAIMS AND PLAN TOTAL
PHASE B400 - BANKRUPTCY-RELATED ADVICE
Task B503 — Litigation

08/01/06

08/01/06

08/01/06

08/01/06

08/01/06

08/02/06

08/02/06

08/02/06

K. Neureiter
K. Neureiter

K. Neureiter

J. Hermann

M. Levinson

K. Neureiter

K. Neureiter

M. Levinson

Continue research related to constructive
and resulting trusts in 9th circuit.

Draft summary related to constructive
trusts.

Confer with M. Levinson regarding
research results and preparation for
hearing on Friday.

Review and analysis of results of research
on constructive trusts and cases cited
therein and consideration and analysis of
implications of the same.

Telephone conversation with A. Loraditch
re the upcoming August 4th hearings
(.10); further preparation for the hearing
on the distribution motion (1.10).
Complete research on resulting and
constructive trusts (and various equitable
liens) in the Ninth Circuit and review
results.

Draft detailed analysis e-mail to M.
Levinson and J. Hermann re various forms
of equitable trusts.

Continue reviewing the distribution
motion and the responses thereto in
preparation for the August 4th hearing
(.80); portion of a long telephone
conversation with M. Tucker related to the
distribution motion (.30); portion of a
telephone conversation with J. Hermann
related to the distribution motion (.20);
continue preparing for the hearing (.50);
review and analyze the First Trust Deed
Committee’s sur-reply and voicemail
message and email memorandum to A.
Loraditch re moving to strike the same
(.30).

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0.80

51.60

54.00

2.40

0.70

0.10

0.70

1.20

4.20

1.90

2.10

456.00

28,203.50

29,112.50

900.00
262.50

37,50

399.00

672.00

1,575.00

712.50

1,176.00
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08/02/06 L. Ernce

08/02/06 J. Hermann

08/03/06 M. Levinson

08/03/06 K. Neureiter

08/03/06 K. Neureiter

08/03/06 K. Neureiter

08/03/06 J. Hermann

Review K. Neureiter email memo re
results of her research on trust issues.
Review and analysis of case authorities
and pleadings filed in connection with
debtors’ distribution motion in preparation
for bankruptcy court hearing re same and
possible need to respond to questions as to
specifics of the Diversified Fund position
or legal authorities bearing upon the same.
Review and respond to lengthy M. Tucker
email memorandum re his thoughts on the
debtors’ reply memorandum and the new
T. Allison declaration (.20); participate in
an exchange of email memoranda with M.
Tucker and A. Loraditch re possibly filing
a motion to get the setoff motion before
Judge Riegle (.20); review A. Jarvis email
memorandum re the setoff portion of
tomorrow’s hearing on the distribution
motion and telephone conversation with S.
Strong re the same and re Ray Quinney’s
approach to the hearing, generally (.20);
portion of the meeting among
professionals for the four committees and
the debtors devoted to discussing and
attempting to resolve the distribution
motion (.90).

Call with M. Levinson regarding
issues/various new filings related to
distribution motion and receive several
assignments in preparation for hearing
tomorrow.

Review Case Management Order, DTDF
Committee’s motion to strike, and draft
email regarding treatment of sur-replies.
Review Debtors’ omnibus reply, review
M. Tucker’s summary and related emails
forwarded by M. Levinson and draft M.
Levinson email related to M. Tucker’s
summary.

Participate in exchange of emails and
evening meeting with all committees and
debtors present to discuss possible
resolution of distribution motion and
related matters.

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0.10 46.50
2.40 1,368.00
1.50 840.00
0.30 112.50
0.60 225.00
0.60 225.00
1.50 855.00
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08/04/06 M. Levinson Email memorandum to M. Tucker and 5.80 3,248.00
other Diversified Committee professionals
re a possible settlement of the distribution
motion and review M. Tucker email in
response thereto (.20); further and final
preparation for the hearing on the
distribution motion, including a review of
the debtors’ reply memoranda and the T.
Allison declaration filed yesterday (.50);
attend the hearing on the debtors’
distribution motion and confer with
numerous counsel, financial advisors and
investors at the courthouse before and
after the hearings and during recesses
(5.10).
08/04/06 K. Neureiter Review voice message from M. Levinson 0.10 37.50
as to results of hearing on distribution
motion.
08/04/06 J. Hermann Further preparation for hearing on 5.80 3,306.00
distribution motion, including review and
analysis of additional pleadings and
declarations filed (.70); participate in
lengthy Bankruptcy Court hearing and
conferences among all counsel after such
hearing (5.10).
08/11/06 M. Levinson Telephone conversation with C. Harvick 0.40 224.00
re the status of possible resolution of how
to apply the $9 million of prepetition
collections (.20); initial review of the
proposed order approving the distribution
motion and email memorandum to J.
Hermann re the same (.20).
08/11/06 L. Ernce Review and comment upon draft order on 0.30 139.50
motion to distribute funds and email to M.
Levinson re same (.20); review R. Charles
comments on proposed order (.10).
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08/14/06 M. Levinson Email memorandum to C. Harvick re the 1.10 616.00
status of the as yet unresolved dispute over
- the $9 million of prepetition collections
and re related matters (.10); telephone
conversation with M. Tucker with L.
Ernce re such dispute, including some of
the remaining issues (.20); follow-up
conversation with M. Tucker, with R.
Charles for part, re the agreement reached
with S. Smith re $6.2 million of the
collections (.20); email memorandum to
all hands re the partial settlement (.20);
review brief follow-up email memoranda
from R. Charles, F. Merola and M. Kvarda
and lengthy explanatory email
memorandum from S. Smith (.20); initial
review of the draft order on the
distribution motion and the C. Pajak and
R. Charles email memoranda re the same
(.20).
08/14/06 L. Ernce Telephone conference with M. Levinson 0.20 93.00
and M. Tucker re $9 million prepetition
payment issue and next steps.
08/14/06 L. Ernce Review exchanges of emails re status of 0.20 93.00
discussion of $9 million prepetition
payment issue and conferences with M.
Levinson re same.
08/15/06 M. Levinson Review a long series of M. Tucker and M. 0.40 224.00
Kvarda email memoranda re the status of
and possible interim resolution of the
prepetition collection issues and exchange
email memoranda with M. Tucker re the
same (.30); telephone conversation with
M. Tucker re his conversations with S.
Smith and M. Kvarda re the interim
resolution of the disputes (.10).
08/17/06 M. Levinson Brief conference with A. Jarvis re the 0.30 168.00
debtors’ response to the R. LePome anti-
netting motion and participate in a chain
of many email memoranda with M.
Schmahl, A. Loraditch and L. Ernce re the
timing and substance of the DTDF and G.
Kantor responses to such motion.
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08/17/06 L. Ernce Review email from M. Schmahl re 0.30 139.50

deadline for responding to LePome motion
for payment of proceeds without netting
and emails with A. Loraditch re same
(.10); review M. Levinson email re his
conference with A. Jarvis re same (.10);
review A. Loraditch response (.10).

08/18/06 M. Levinson Review the First Trust Committee’s 0.50 280.00
response to the motion for a determination
of netting (.10); review A. Loraditch and
L. Ernce email memoranda re the DTDF
response to such motion (.10); telephone
conversation with A. Loraditch re the
same (.10); review and interlineate
comments to the draft DTDF
response/joinder and confer with L. Ernce
re my proposed changes (.20).

08/18/06 L. Ernce Telephone conference with A. Loraditch 1.20 558.00
re whether Diversified Committee will
join in debtors’ opposition to R. LePome
motion for payment of proceeds without
netting and conference with M. Levinson
re same (.10); email to E. Monson re
Diversified Committee will join in
opposition and requesting draft for review
(.10); review draft from E. Monson and
begin drafting Diversified Committee’s
joinder (.30); review G. Kantor opposition
to R. LePome motion (.10); continue
drafting joinder (.20); conference with M.
Levinson re same (.10); revise and finalize
joinder and email to A. Loraditch re filing
(.20); emails with E. Monson re
Diversified Committee’s joinder is
finalized and filed (.10).

08/20/06 M. Levinson Exchange email memoranda with A. 0.10 56.00
Loraditch re the form of order denying the
Weddell and Spectrum motion for relief
from the stay.
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08/21/06 M. Levinson Review today’s draft of the order re the 1.00 560.00
distribution motion and related other
motions and review prior email]
memoranda in connection with the same
(.20); further review of the draft order,
interlineate comments to the same, and
email the same to other Diversified Trust
professionals for their comment (.20);
review the C. Pajak proposed changes to
the order and the R. Charles, C. Carlyon
and L. Schwartzer responsive email
memoranda (.20); email memorandum to
all counsel re my proposed changes and
my comments on the C. Pajak and L.
Schwartzer email memoranda (.20);
review brief follow-up email memoranda
from various counsel (.10); review the R.
Kinas email memorandum suggesting a
number of additional changes and the R.
Charles and A. Landis responses thereto
(.10).

08/21/06 L. Ernce Review proposed form of order granting 0.40 186.00
distribution motion, hold funds motion
and other relief and email to M. Levinson
re same (.20); review multiple exchanges
of emails from others re comments to
same (.20).

08/22/06 M. Levinson Review email memoranda re the form of 0.40 224.00
distribution motion order from J. Chubb,
L. Davis, M. Schmahl, R. Charles and
others and brief conferences with A.
Jarvis and S. Strong re comments from
other counsel (.20); review additional
email memoranda from C. Pajak, J.
Gordon and others re the form of order
(.10); conference with S. Strong re the
same and review his email memorandum
to all counsel re his and my approval of a
form of order (.10).

08/22/06 L. Ernce Review multiple exchanges of emails and 0.40 186.00
next versions of orders on distribution
motion and ordinary course releases (.30);
review C. Pajak email and proposal re
protocol on continuing interim
distributions (.10).
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08/23/06 M. Levinson Review this morning’s version of the order 0.30 168.00
approving the interim distribution motion,
sign the same and email the signed order
to all counsel (.10); review the next
version (containing C. Cunningham’s
proposed change), review email
memoranda from other counsel re the
same and email all hands with my
approval of the revised form of order
(.20).
08/23/06 L. Ernce Review next version of order on motion to 0.10 46.50
distribute funds
08/25/06 J. Hermann Review and analysis of reports of similar 0.40 228.00

loan investment program found to be
Ponzi-type scheme and participation in
exchange of email correspondence
regarding the same.
08/28/06 M. Levinson Review M. Tucker email memoranda to 0.20 112.00
A. Jarvis re preserving accountant work
papers, re possible Rule 2004
examinations and re preserving the chain
of custody of USACM computers.
08/28/06 L. Ernce Review R. LePome reply brief in support 0.10 46.50
of motion for payment of proceeds
without netting.

08/29/06 L. Ernce Review debtors’ modification to motion to 0.10 46.50
distribute funds and email to M. Levinson
re same.

08/30/06 M. Levinson Review today’s draft of the order 1.10 616,00

permitting continuing distributions (.20);
after reviewing the August 24th order
approving the initial distribution, draft an
insert to the proposed order relating to the
reservation of rights by the Diversified
Fund, and email the same to S. Freeman
(.20); review the draft order, as revised by
S. Freeman (.20); telephone conversation
with M. Tucker re the possible distribution
of the remaining $2 million of prepetition
collections and re the S. Freeman form of
order (.20); review the Highland Capital
objection to the continuing distributions
motion and proposed order and email
memorandum to B. Olson and A.
Loraditch re handling the same at
tomorrow’s hearing (.20); review the
exchange of S. Freeman and C. Pajak
follow-up email memoranda re the form of
continuing distributions order (.10).
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08/31/06 L. Ernce Review email exchanges re debtors’
motion to modify distribution procedures.
B503 — Litigation Total

Task B504 — EPIC Loan

08/07/06 J. Hermann Participate in conference call with M.
Levinson, A. Jarvis and S. Tingey re
strategy, tactics and action items on
collection of DTDF loans, including Epic
loan.

08/07/06 J. Hermann Participate in initial conference call with
M. Levinson, A. Jarvis and S. Tingey
regarding strategy, tactics and action items
on collection of DTDF loans, including
Epic loan, and related matters.

08/07/06 M. Levinson Long telephone conversation with A.
Jarvis, S. Tingey and J. Hermann devoted
to collecting the Epic loan (.60); review
the draft notice of interest and
acknowledgment of interest documents
forwarded by S. Tingey (.10); long follow-
up conversation with A. Jarvis, S. Tingey
and J. Hermann re the same (.50).

08/09/06 J. Hermann Review and analysis of proposed notices
of interest in connection with 63
condominium units and participation in
exchange of email correspondence
regarding the same.

08/16/06 M. Levinson Review and analyze S. Tingey and J.
Hermann email memoranda re finalizing
the acknowledgement of interest and
related documents related to the EPIC loan
that J. Milanowski claims he is ready to
sign.

08/16/06 J. Hermann Review and analysis of proposed
document to be recorded against former
Epic property to prevent J. Milanowski
from transferring or encumbering the same
without our consent and participation in
exchange of email correspondence
regarding the same.

08/23/06 M. Levinson Exchange email memoranda with A.
Jarvis re J. Milanowski’s agreement to
sign the Epic documents proposed by the
debtors and the Diversified Committee
and re next steps with respect to the
documents.

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0.10

41.60

0.70

0.60

1.20

0.60

0.20

0.50

0.10

46.50

21,055.00

399.00

342.00

672.00

342.00

112.00

285.00

56.00
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08/24/06 M. Levinson

08/24/06 L. Emce

08/25/06 J. Hermann

08/28/06 J. Hermann

08/29/06 L. Chang

Task B505 — 10-90 Loan
08/01/06 M. Levinson

08/02/06 M. Levinson

Review A. Jarvis email memoranda re J.
Milanowski’s having signed the
Acknowledgement of Interest document
on behalf of Tree Moss affording

protection to the estates in the former Epic

properties and review the document (.20);
two email memoranda to J. Hermann, M.

Tucker and C. Harvick re the same and re
next steps (.20).

Review J. Milanowski acknowledgment of

interest re Epic loan.

Participate in conference call with M.
Tucker, C. Harvick and M. Levinson re
issues for meetings in Las Vegas with J.
Milanowski on Monday regarding Epic
Joan and other matters.

Meeting with J. Milanowski, his counsel,
debtor representatives and M. Tucker and
C. Harvick re numerous issues including
also collection of Epic loan and Sheraton
Hotel loan.

Prepare filing for "Record
Acknowledgment of Interest” agreement
for the county of Riverside.

BS04 — EPIC Loan Total

Telephone conversation with C. Harvick
in preparation for the upcoming meeting
with the professionals for the USACM
Committee (.10); telephone conversation
with R. Charles re the same (.10);
exchange email memoranda with M.
Tucker and review T. Allison email
memorandum re the organizational chart
for Investment Partners and related
insiders (.20).

Exchange email memoranda with S.
Freeman re establishing a joint privilege
with respect to tomorrow’s meeting with
the unsecured creditors committee re the
10-90 loan and Investment Partners (.10);
portion of a long telephone conversation
with M. Tucker related to tomorrow’s
meeting (.30); portion of a telephone
conversation with J. Hermann related to
the same (.10).

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0.40

0.10

0.80

0.60

1.20

7,00

0.40

0.50

224.00

46.50

456.00

342.00

156.00

3,432.50

224.00

280.00
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08/02/06 J. Hermann Travel to Las Vegas to meet with USACM
Committee regarding 10-90, Inc. loan and
to participate in bankruptcy court hearing
on debtors distribution motion and review
and analysis of 10-90, Inc. materials
enroute (actual time approximately 3.5
hours).

08/03/06 M. Levinson Meeting at Lewis & Roca in Las Vegas
with R. Charles, R. McKirgan, T. Burr and
J. Hermann with S. Freeman, M. Tucker
and C. Harvick joining by phone from
Phoenix, re the 10-90 and Investment
Partners loans and related matters (2.40);
continuation of the meeting/phone call
with the same participants (1.80).

08/03/06 J. Hermann Review and analysis of files and materials
bearing upon Investment Partners and 10-
90 loan in preparation for meeting with
USACM Committee representatives.

08/03/06 J. Hermann Meeting with representatives of unsecured
creditors committee and Diversified
professionals regarding Investment
Partners and 10-90 loan in particular,
strategies for collection actions against 10-

, 90 and numerous related matters.

08/04/06 M. Levinson Conference at Beckley Singleton with T.
Allison, A. Jarvis, S. Strong and
Diversified Committee professionals re
the debtors’ collection efforts with respect
to various of the DTDF loans, with a focus
on T. Allison’s discussions with J.
Milanowski and others re the 10-90 loan.

08/04/06 J. Hermann Participate in meeting between debtors’
professionals and Diversified Committee
professionals regarding latest information
from and negotiations with J. Milanowski
regarding collection of 10-90, Inc. loan, as
well as related matters.

08/04/06 J. Hermann Follow-up meeting with M. Levinson, M.
Tucker and C. Harvick regarding results of
meeting with Mr. Allison and others on
collection of 10-90, Inc. loan and
discussion of alternatives to that proposed
by J. Milanowski.

08/05/06 M. Levinson Email memorandum to A. Jarvis and J.
Hermann re collection efforts on the 10-90
loan.

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2.50 1,425.00
4,20 2,352.00
1.40 798.00
4.20 2,394.00
2.20 1,232.00
2.20 1,254.00
0.50 285.00
0.10 56.00
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08/06/06 M. Levinson

08/07/06 J. Hermann

08/07/06 J. Hermann

08/07/06 M. Levinson

08/08/06 M. Levinson

08/09/06 M. Levinson

08/09/06 L. Ernce

September 22, 2006

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Exchange email memoranda with A. 0.10
Jarvis and J. Hermann re arranging a

conference call to discuss next steps with

respect to collecting the 10-90 loan.

Participate in conference call with M. 0.90
Levinson, A. Jarvis and S. Tingey

regarding strategy, tactics and action items

on collection of DTDF loans, including

10-90 loan.

Review and analysis of loan documents 0.40
and file materials in connection with

conference call to set action items for loan

collection efforts.

Very long telephone conversation with A. 1.50
Jarvis, S. Tingey and J. Hermann (with K.

Glade for part) devoted to collecting the

10-90 loan, with a focus on R. Ashby, D.

Fogg, the Colt loans and the Sheraton

loan.

Exchange a series of email memoranda 0.30
with R. Ashby’s counsel, J. Mahoney, re

meeting tomorrow to discuss repayment of

the 10-90 loan and related matters (.10);

confer with A. Jarvis re the same and

forward the J. Mahoney email

memorandum to her (.10); exchange a

series of email memoranda with M.

Tucker re the same and send a confirming

email memorandum to J. Mahoney (.10).

Meetings in Los Angeles with R. Ashby, 7.30
L. Redman, P. McNicholas (Fiesta CFO),

J. Mahoney, T. Allison, S. Smith, A.

Jarvis, R. Worthen (for part) C. Harvick

and M. Tucker (for part, by phone) during

which we discuss the various obligations

of R. Ashby, L. Redman and their various

entities to Investment Partners and to

various other USA Mortgage entities and

how to monetize the same.

Telephone conference with M. Levinson 0.40
re due diligence on Sutter Securities and

email to Orrick attorneys re same (.20);

review various responses (.20).

56.00

513.00

228.00

840.00

168.00

4,088.00

186.00
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08/15/06 M. Levinson Conference with C. Harvick, B. Olson and 1.80 1,008.00

L. Ernce in preparation for the upcoming
meetings with the USAMC Committee
(.30); meeting/telephone conference re
collection of the 10-90/Investment
Partners loan and related strategic issues at
Lewis & Roca with R. Charles, S.
Freeman, D. Walker, T. Burr, R. Worthen,
M. Tucker, C. Harvick and L. Ernce
(1.00); resume the meeting/call with R.
Charles, S. Freeman, D. Walker, T. Burr,
R. Worthen, M. Tucker (for part), C.
Harvick and L. Ernce (.50).

08/15/06 L. Ernce Conference with M. Levinson, C. Harvick 1.80 837.00
and B. Olson re meetings later today with
unsecured creditors committee (.30);
meeting with unsecured creditors
committee counsel, financial advisor and
chair regarding strategies for collection of
10-90/Investment Partners loan and
related matters (1.50).

08/16/06 M. Levinson Leave the Diversified Committee meeting 1.00 560.00
for a telephone conversation with A. Jarvis
and M. Tucker re next steps with respect
to Investment Partners and 10-90,
including arranging a meeting with J.
Milanowski’s counsel for early next week
(.20); review lengthy M. Tucker follow-up
email memorandum to A. Jarvis re the
need for information about and access to
Investment Partners (.10); travel to
meeting with A. Jarvis and others (.20);
attend the portion of a late evening
meeting with A. Jarvis, S. Smith, J.
Atkinson, R. Charles and L. Ernce during
which we discuss Investment Partners,
related strategic matters and next steps
(.50).

08/16/06 L. Ernce Travel to meeting with A. Jarvis, Mesirow 0.70 325.50
representatives with M. Levinson and R.
Charles (.20); conference with A. Jarvis,
Mesirow representatives, M. Levinson and
R. Charles re Investment Partners strategy
matters and related issues for part (.50).
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08/17/06 M. Levinson Review and analyze the lengthy J. 1.90 1,064.00

Mahoney email memorandum forwarding
the email memorandum from Ohio
Savings Bank threatening foreclosure
action on Roripaugh and forward the same
to C. Harvick, M. Tucker and J. Hermann
(.20); review, analyze and respond to M.
Tucker response to the J. Mahoney email
(.20); portion of long conference call with
M. Tucker, C. Harvick, J. Hermann and L.
Ernce devoted to strategizing re
Investment Partners, the various Ashby
loans and related matters (.60); exchange
email memoranda with A. Jarvis re
arranging to meet next week with J.
Milanowski’s counsel (.10); review,
analyze and interlineate comments to
lengthy J. Mahoney letter of August 14th
summarizing the August 9th meeting and
making proposals (.60); review lengthy M.
Tucker email memorandum re possible
Investment Partners assets (.10); exchange
further email memoranda with A. Jarvis re
arranging a meeting with J. Milanowski’s
counsel for early next week (.10).

08/17/06 L. Ernce Conference call with FTI, J. Hermann and 0.60 279.00
M. Levinson re Investment Partners
strategy issues and related matters.

08/17/06 J. Hermann Participate in conference call with M. 0.60 342.00
Tucker, M. Levinson and C. Harvick
regarding upcoming meeting with J.
Milanowski’s counsel, strategy for such
negotiations and need to prepare wish list
of cooperation to be received from J.
Milanowski.
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08/18/06 M. Levinson Continue reviewing documents and emails 2.90 1,624.00

in preparation for the upcoming call with
J. Mahoney, T. Allison and others re the
various Ashby, Redman and Fiesta loans
and properties (.30); telephone
conversation with C. Harvick and M.
Tucker in preparation for such call (.20);
very long conference call re Investment
Partners and 10-90 involving R. Ashby, J.
Mahoney, P. McNicholas, A. Ayuyao, T.
Allison, A. Jarvis, M. Tucker, C. Harvick
and others (2.00); follow-up conversation
with C. Harvick and M. Tucker (.10);
review A. Jarvis email memoranda re the
upcoming meeting with R. Walker (.10);
initial review of the list of Investment
Partners assets provided by A. Jarvis and
forward the same to C. Harvick, M.
Tucker and J. Hermann (.20).

08/19/06 M. Levinson Attention to preparing for the August 21st 0.40 224,00
meeting with counsel for J. Milanowski
and Investment Partners.

08/20/06 M. Levinson Email memorandum to C. Harvick, M. 0.50 280.00
Tucker and J. Hermann re the status of the
list of documents for the meeting with
counsel to Investment Partners and J.
Milanowski (.10); continue preparing for
the upcoming meeting (.40).

08/21/06 M. Levinson Telephone conversation with C. Harvick 1.10 616.00
in preparation for my meeting with
Investment Partners’ counsel and A. Jarvis
tomorrow and voicemail message to A.
Jarvis with C. Harvick re the same (.20);
telephone conversation with C. Harvick re
his trip tomorrow to Temecula to review
Ashby records and re tomorrow’s meeting
with A. Jarvis (.20); exchange a series of
many brief follow-up email memoranda
with A. Jarvis re tomorrow’s meetings and
next steps (.10); prepare to tomorrow’s trip
and meetings (.40); initial review and
analysis of lengthy J. Hermann email
memorandum re issues to discuss at
tomorrow’s meeting and brief reply to J.
Hermann (.20).
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08/21/06 L. Ernce

08/21/06 J. Hermann

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08/22/06 M. Levinson

08/22/06 L. Ernce

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Review C. Harvick email re status of wish 0.20
list for Investment Partners documents and
related matters and M. Levinson response
(.10); review J. Hermann email and draft
list (.10).

Prepare memorandum re strategy for 3.20
negotiations with J. Milanowski and wish
list for the same and review and analysis
of file materials in connection with the
same.

Travel from Sacramento to Salt Lake City 10.80
for meetings with A. Jarvis, S. Tingey and
R. Walker re the 10-90 loan, Investment
Partners and related issues, and en route
review memoranda, emails, data, charts
and other materials in further preparation
for the meetings (2.50); continue
reviewing documents, etc. in preparation
for the upcoming meetings while in a
conference room at Ray Quinney (.40);
meeting with A. Jarvis, with M. Tucker
joining by phone, in preparation for the
meeting with R. Walker (1.20); follow-up
meeting with A. Jarvis (.20); meeting with
R. Walker and A. Jarvis, with M. Tucker
on the phone for large part, re resolving
the Investment Partners disputes and
collecting the Investment Partners assets
(3.40); follow-up meeting with A. Jarvis
(.20); email memorandum to the
Diversified Trust professionals re the
meeting and re next steps (.20); exchange
follow-up email memoranda with J.
Hermann and telephone conversation with
J. Hermann (.20); travel from Salt Lake
City to Sacramento, and en route plan for
next steps with respect to 10-90, possible
plans or sales and other matters (2.50).
Review M. Levinson email report re 0.10
meeting with counsel for Hantges,
Milanowski and Investment Partners and
next steps.

93.00

1,824.00

6,048.00

46.50
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08/23/06 M. Levinson Telephone conversation with M. Tucker 2.00 1,120.00
and C. Harvick in preparation for the
upcoming conference call (.10); long
conference call re the Ashby
loans/projects with R. Ashby, L. Redman,
J. Mahoney, T. Allison, A. Jarvis, M.
Tucker, C. Harvick and others (1.00); long
telephone conversation with A. Jarvis and
R. Walker re next steps with respect to
Investment Partners and J. Milanowski,
with M. Tucker and J. Hermann for part
(.60); follow-up conversation with A.
Jarvis and D. Parker re the call with R.
Walker and re next steps (.20); exchange a
series of email memoranda with counsel
for Plan Proponent No. | and A. Jarvis re
the debtors’ request that J. Milanowski
release Plan Proponent No. | from the
confidentiality agreement (.10).
08/23/06 L. Ernce Review emails re 10-90 loan including 0.20 93.00
possible strategies for asset recovery.
08/23/06 J. Hermann Participate in telephone conferences and 0.30 171.00
email exchanges regarding results of
meeting with counsel for J. Milanowski in
Salt Lake City and plans for follow-up
meeting with J. Milanowski on Monday
and related matters.
08/25/06 M. Levinson Portion of a long telephone conversation 0.40 224.00
with M. Tucker, C. Harvick and J.
Hermann spent discussing Investment
Partners issues in preparation for the
meeting with J. Milanowski and others in
Las Vegas on August 28th.
08/25/06 J. Hermann Further review and analysis of file 1.20 684.00
materials bearing upon Investment
Partners and further consideration and
analysis of related issues in preparation for
meeting with J. Milanowski on Monday.
08/25/06 J. Hermann Participate in conference call with M. 1,30 741.00
Tucker, C. Harvick and M. Levinson
regarding issues for meetings in Las
Vegas with J. Milanowski on Monday
regarding Investment Partners, collection
of 10-90 loan and other matters.
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08/28/06 M. Levinson Exchange of lengthy email memoranda 1.10 616.00

with M. Tucker and J. Hermann re J.
Milanowski’s request for a pre-meeting
with T. Allison prior to meeting with the
Diversified Trust professionals (.20);
email memoranda with M. Tucker re his
meeting with T. Allison prior to the
meeting with J. Milanowski (.10); long
telephone conversation with M. Tucker
and L. Ernce following the meeting with
T. Allison, A. Jarvis, J. Milanowski and
others (.40); portion of a long conversation
with M. Tucker, C. Harvick and J.
Hermann devoted to a discussion of
today’s meeting with J. Milanowski and
others (.20); analysis re next steps with
respect to Investment Partners in light of
today’s meetings (.20).

08/28/06 J. Hermann Travel to Las Vegas in connection with 2.50 1,425.00
several meetings, primarily with J.
Milanowski and his counsel to discuss
collection cooperation on 10-90, Inc., Epic
and Sheraton Hotel loans and review and
analysis of loan documents and related
materials enroute.

08/28/06 J. Hermann Meetings with debtor representatives and 0.90 513.00
M. Tucker and C. Harvick re results of
meeting with J. Milanowski, litigation
alternatives available in view of apparent
lack of unqualified cooperation and related
topics.

08/28/06 J. Hermann Meeting with J. Milanowski, his counsel, 1.50 855.00
Debtor representatives and M. Tucker and
C. Harvick re numerous issues, primarily
related to collection of 10-90, Inc. loan.
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08/29/06 M. Levinson Review T. Allison and M. Tucker email 1.10 616.00
memoranda re possible discussions with
D. Fogg (.10); long telephone
conversation with J. Mahoney re
Investment Partners issues, with C.
Harvick for part (.40); follow-up
conversation with J. Mahoney, M. Tucker,
C. Harvick and J. Hermann re the call this
morning from J. Milanowski to J.
Mahoney and re next steps with respect to
Investment Partners and the
Ashby/Redman interests (.50); portion of a
long telephone conversation with A. Jarvis
re yesterday’s meeting with J. Milanowski
(.10).
08/29/06 J. Hermann Participate in conference call with 0.60 342.00
Diversified Committee professionals and
J. Mahoney, counsel for R. Ashby,
regarding his proposals for dealing with
problems resulting from further
involvement of J. Milanowski.
08/30/06 M. Levinson Exchange email memoranda with A. 0.10 56.00
Jarvis re meeting in Las Vegas tomorrow
to discuss the Investment Partners loans
and email to J. Hermann re the same.
08/30/06 J. Hermann Review and analysis of Stoneridge 0.40 228.00
purchase offers and other file materials
bearing upon the same.
08/30/06 J. Hermann Review and analysis of operating 1.20 684.00
agreements for LLC’s and consideration
and analysis of issues involved in creating
new entity to own membership interests
pledged by Investment Partners subject to
joint control as discussed at Monday’s
meeting with J. Milanowski,
08/31/06 M. Levinson Telephone conversation with M. Tucker 0.30 168.00
and C. Harvick re M. Tucker’s call earlier
today with T. Allison, A. Jarvis, J.
Hermann and others re Investment
Partners settlement and litigation options
(.20); exchange follow-up email
memoranda with J. Hermann re the same
(.10).
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08/31/06 J. Hermann Participate in conference call with T. 0.60 342.00
Allison, M. Tucker and A. Jarvis
regarding results of further negotiations
with J. Milanowski regarding control
issues with respect to Investment Partners
assets and repayment of Sheraton Hotel
and Epic loans, including possible entity
structure for entity to receive title to all IP
assets and personal assets to be jointly
controlled and pledged for outstanding
obligations.
08/31/06 J. Hermann Analysis of results of further negotiations 0.30 171.00
with J. Milanowski, issues involved with
entity structure to hold Investment
Partners and personal assets and
participation in exchange of email
correspondence regarding the same.
B505 — 10-90 Loan Total 72.70 40,599.00
PHASE B400 - BANKRUPTCY-RELATED ADVICE TOTAL 121.30 65,086.50
Total Hours 382.00
Total For Services $200,019.00
Task Billed
Code Description Hours Amount
PHASE B100 - ADMINISTRATION
B110 Case Administration 47.20 24,504.00
B120 Asset Analysis and Recovery 7.20 3,902.50
B130 Asset Disposition & Sales 5.30 3,010.50
B152 Meetings & Communications with other Committees 45.40 24,560.00
B153 Meetings & Communications with the Committee or 25.70 13,560.00
members of the Committee
B154 Meetings & Communications with the Creditors or 14.20 7,043.00
Equity holders
B160 Fee/Employment Applications 56.50 26,812.50
B170 Fee/Employment Objections 5.20 2,427.50
PHASE B100 —- ADMINISTRATION TOTALS 206.70 105,820.00
PHASE B300 —- CLAIMS AND PLAN
B310 Claims Administration and Objections 2.40 909.00
B320 Plan and Disclosure Statement (including Business 51.60 28,203.50
Plan)

PHASE B300 ~- CLAIMS AND PLAN TOTALS ~ 54.00 29,112.50
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Task Billed
Code Description Hours Amount

PHASE B400 - BANKRUPTCY-RELATED ADVICE

B503 Litigation 41.60 21,055.00
B504 EPIC Loan 7.00 3,432.50
B505 10-90 Loan 72.70 40,599.00
PHASE B400 —- BANKRUPTCY-RELATED ADVICE TOTALS 121.30 65,086.50
Totals 382.00 $200,019.00
Timekeeper Summary Hours Rate Amount
Lyly Chang 1.20 130.00 156.00
Lynn T. Ernce 104.00 465.00 48,360.00
Jeffery D. Hermann 71.30 570.00 40,641.00
Marc A. Levinson 182.70 560.00 102,312.00
Kimberly E. Neureiter 22.80 375.00 8,550.00
Total All Timekeepers 382.00 $523.61 $200,019.00
Disbursements Total $4,016.55
Disbursements
Duplicating Expense 253.80
Lexis Research 533.50
Local Taxi Expense 172.00 -
Out of Town Business Meals 274.02
Outside Services 13.00
Parking Expense 132.00
Postage 5.43
Telephone 275.89
Travel Expense, Air Fare 1,493.00
Travel Expense, Local 53.40
Travel Expense, Out of Town 810.51
Total Disbursements $4,016.55

Total For This Matter $204,035.55
